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    Former European leaders struggle to explain
    themselves after Mueller claims Paul Manafort
    paid them to lobby for Ukraine
                Michal Kranz
                Feb. 25, 2018, 5:49 PM




    Paul Manafort. Drew Angerer/Getty

   President Donald Trump's former campaign manager Paul Manafort was charged on Friday
    with paying European leaders to lobby of behalf of Ukraine, special counsel Robert Mueller
    alleged.
   The leaders in question, who include former leaders of Austria and Italy, have denied any
    wrongdoing.
   The leaders were allegedly part of a lobbying group called the Hapsburg Group.




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    Following special counsel Robert Mueller's newest indictment on Friday of President Donald Trump's
    former campaign manager Paul Manafort, two former European leaders were shocked to find their
    names mentioned in the indictment documents, claiming they'd done nothing wrong, according to
    the New York Times.




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According to Mueller's indictment, two European politicians were secretly paid around €2 million by
Manafort in order to "take positions favorable to Ukraine, including by lobbying in the United
States," the Times reported. This money was paid during a period when former Ukrainian President
Viktor Yanukovych was inching closer to Europe on several issues. He eventually changed course
however, and was ousted in a pro-Western revolution in Ukraine in 2014.

The group of politicians who were allegedly paid by Manafort were known as the Hapsburg Group, a
reference to the famous Austrian imperial dynasty.

Although the indictment documents did not name the leaders, the former Prime Minister of Italy
Romano Prodi stated in an interview on Saturday that he and former Austrian Chancellor Alfred
Gusenbauer were the leaders mentioned.

But Prodi said he was not aware that the funds Gusenbauer had paid him had come from Manafort,
and were part of "normal private relations I had with him," and was "not any money from external
sources."

"I tell you I have never been paid from any lobby group in America," Prodi added.

According to the Times, Prodi and Gusenbauer had both long believed that closer ties between
Ukraine and the European Union were a good thing.

"I always had the point of view that it was important to move Ukraine closer to Europe," Gusenbauer
told the BBC in a statement. "It would have been extremely positive if Ukraine could have agreed" to
closer ties, he said. "I was talking to E.U. and U.S. politicians to make that point clear... I stopped this
activity when I had the impression that Ukraine was moving in the wrong direction."


A trans-Atlantic charade
Mueller's documents claim that the group had strategized to "appear to be providing their
independent assessments of Government of Ukraine actions, when in fact they were paid lobbyists
for Ukraine," according to the Times.




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Ukrainian President Viktor Yanukovych (L) gives a wink to his Russian counterpart Vladimir Putin
during a signing ceremony after a meeting of the Russian-Ukrainian Interstate Commission at the
Kremlin in Moscow, December 17, 2013. REUTERS/Sergei Karpukhin

Gusenbauer did admit that he had been paid for working on behalf of Ukraine, but did not divulge
by whom. According to filings made by Mercury Public Affairs, a political strategy group contracted
by Manafort, the former chancellor had met with several members of Congress in 2013 to lobby for
Ukraine.

The Podesta Group, a Washington lobbying firm formerly run by the brother of the former chairman
of the 2016 Democratic presidential campaign John Podesta, also reportedly "arranged meetings and
media opportunities" for a group of visiting European leaders working on the Ukraine issue that
included Prodi and Gusenbauer. Prodi however has denied membership in this group, and stated
that Gusenbauer headed it.

Last year, Manafort and his former deputy Rick Gates had been indicted on 12 charges related to
money laundering, tax fraud, failure to register as foreign agents, and conspiracy against the United
States.

But on Thursday, Gates and Manafort were handed a superseding indictment that replaced the
original 12 charges with a fresh set of 35 charges related to tax and bank fraud. Mueller's indictment
document alleges that Gates and Manafort set up offshore bank accounts that they then failed to
disclose to the proper authorities, and laundered over $75 million through these accounts. Friday's
indictment was placed on top of these existing charges.

 




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